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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
                                       :

     v.                                :   Criminal No. DKC 12-624

                                       :
CHAMRON THACH
                                       :

                                       :

                                  * * * * * * *

UNITED STATES OF AMERICA
                                       :

     v.                                :   Civil Action No. DKC 13-1984

                                       :
$3,850 U.S. CURRENCY
                                       :

                              MEMORANDUM OPINION

     The     Government   has     initiated    both    civil     and    criminal

forfeiture proceedings, which overlap.            In the criminal case, a

federal grand jury in the United States District Court for the

District of Maryland returned an indictment charging multiple

individuals, including Chamron Thach (“Thach”), with conspiracy

to   distribute    a   controlled     substance       and   money      laundering

conspiracy.     (Crim. No. 12-624, ECF No. 1).                  On December 6,

2012, the Government obtained a search and seizure warrant for

4317 Edmonston Road, Bladensburg, MD 20710, which is Thach’s

residence.     (Crim. No. 12-624, ECF No. 226, at 1).                  That same
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day,     the      search    and       seizure         warrant       was    executed        on    the

property,         leading        to     the       seizure         of      electronic        media,

miscellaneous documents, approximately 279.9 grams of marijuana,

drug paraphernalia and $3,850 in US currency.                                  The search also

revealed       an     indoor          marijuana        grow         structure        and    “items

associated        with     the    growing         of    marijuana.             The    $3,850      in

currency was discovered in a bedroom, secreted inside a case

located in the top of the indoor marijuana grow structure.”

(Id.).

       On    May     13,    2013,       Thach      pled       guilty      to    one    count      of

Conspiracy to Distribute and Possess with Intent to Distribute

100 Kilograms or More of Marijuana in violation of 21 U.S.C. §

846, and one         count of Money Laundering Conspiracy, in violation

of 18 U.S.C. § 1956(h).                 (Crim. No. 12-624, ECF No. 130).                        This

court sentenced Thach to 96 months in prison on August 5, 2013.

(Crim.      No.     12-624,      ECF    No.     201).          On    August     7,     2013,     the

government filed a motion for forfeiture pursuant to 21 U.S.C. §

853 and 18 U.S.C. § 982(a)(1), which was later entered.                                     (Crim.

No.    12-624,       ECF    No.       192   and       200).         The   Order       covers     the

following items: (1) $178,938 seized on October 26, 2012; (2)

MOTORLA MICRO SD; (3) MPEG 4 PLAYER; (4) HP LAPTOP; (5) SONY

PLAYSTATION 3; (6) ASUS DESKTOP CPU; (7) HP DESKTOP CPU; (8)

IOMEGA EXTERNAL HARD DRIVE; (9) SONY PLAYSTATION 3; (10) APPLE

MAC BOOK PRO; (11) SONY PLAYSTATION 3; (12) APPLE MAC BOOK PRO;

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(13) SONY PLAYSTATION 3; (14) SONY MEMORY STICK PRO DUO; (14) LG

800 GHL (cell Phone); (15) MICRO SD CASES; (16) SONY PLAYSTATION

3; (17) SEAGATE EXTERNAL HARD DRIVE; (18) PNY ATTACHE 8GB USB

THUMB    DRIVE;    (18)    GATEWAY     LAPTOP;     (19)    WESTERN         DIGITAL       HARD

DRIVE; (20) IPOD 16GB; (21)TOSHIBA LAPTOP; (22) DIGITAL STORM

DESKTOP; (23) MOTOROLA MB810 (cell Phone); (24) CANON COMPACT

FLASH CARD; (25) SONY MEMORY STICK DUO; (26) MOBILE PHONE IMEI

355053107897191; and (27) $3,850.                 (Crim. No. 12-624, ECF No.

200, at 2).

        In   the   civil     case,     the      government          had    initiated        a

forfeiture action in rem against the same $3,850 in item (27) on

July 9, 2013, alleging that the Defendant Currency is “subject

to   forfeiture     pursuant    to     21    U.S.C.   §    881(a)(6)         because       it

represents     money      furnished    and      intended       to    be   furnished        in

exchange     for    a     controlled     substance        in        violation     of      the

Controlled Substances Act, [and] constituted proceeds traceable

to such an exchange, and was used and intended to be used to

facilitate such violation.”            (Civil No. 13-1984, ECF No. 1 ¶ 8).

On July 10, 2013, the clerk issued an arrest warrant in rem for

the Defendant Currency.          (Id., No. 2).             On July 15, 2013, the

Government sent a copy of the verified complaint and a “Notice

of Complaint for Forfeiture” to Percy Jin Zheng (“Zheng”), at

his home address, 4317 Edmonston Road, Bladensburg, MD 20710,



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the   property    on    which    the    search         and    seizure       warrant    was

executed.    (Id., No. 5-2, at 2-4).

      On    August     20,   2013,     the       court      received    a    signed    but

unverified letter from Zheng, dated August 13, 2013, in which

Zheng   claims    a    legal    interest         to   the    Defendant      Currency    of

$3,850.     The envelope which contained the letter is postmarked

August 16, 2013.        (Civil No. 13-1984, ECF No. 3-1, Crim. No. 12-

624, ECF No. 221, at 1).             In the letter, Zheng asserts that he

has resided at 4317 Edmonston Road, Bladensburg, MD, 207410 for

approximately three years, the same address where Thach resided.

Zheng further asserts that he has known Thach for approximately

three to four years, but was unaware of Thach’s involvement with

dealing marijuana and money laundering until the search warrant

was executed on his house on December 6, 2013.                              Zheng states

that many of the electronics that were seized belonged to him,

as did the $3,850 in U.S. Currency.                      Specifically, in addition

to the $3,850, Zheng asserts ownership over the following items:

             (1) Digital Storm Desktop (with powercords);
             (2) Gateway laptop (with powercords); (3)
             Seagate external hard drive (1 tb); (4) Two
             USB 1GB memory stick; (5) Western Digital
             Portable   Hard  drive;   (6)  USB  wireless
             internet adapter; (7) Asus Hard drive; (8)
             Apple Ipod Touch; (9) 3 playstation 3
             consoles (Two 80GB consoles, and one new ps3
             slim console); and (10) Two or Three
             Playstation 3 controllers.




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Zheng contends that he has receipts for some of the electronic

items that were seized (e.g., Digital Storm Desktop, the Seagate

external Hard drive, and the slim ps3 model).                  Zheng explains

that he worked in the restaurant industry and often kept large

bills at home because he used small bills for change at the

restaurant where he worked.        He further contends that he used an

“E-banking account so [he] couldn’t use the tellers to withdraw

or deposit money or there would be a fee accessed to [his]

account.”      Zheng   maintains    that     the   $3,850      represents      the

combination of tips and $2,000 he received from the IRS in tax

returns from 2010-2011.       Zheng asserts that the $3,850 did not

belong to Thach and has “[nothing] to do with his case.”

I.   Analysis

     In response to Zheng’s letter, the Government filed motions

in both cases.     In the civil forfeiture case, it filed a motion

to strike Zheng’s claim because it was untimely and not signed

under penalty of perjury, as required by the Supplemental Rules

for Certain Admiralty and Maritime Claims.            ((Civil No. 13-1984,

ECF No. 5).1      In the criminal case, the Government similarly

filed a motion to strike, again objecting to Zheng’s failure to

sign the claim under penalty of perjury, and requesting that the


     1
       Pursuant to Supplemental Rule G(8)(c)(i), at any time
before trial, the government may move to strike a claim or
answer: (1) for failing to comply with Rule G(5) or (6); or (2)
because the claimant lacks standing.
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court continue the hearing scheduled for September 16, 2013 to

allow      the       Government          an     opportunity          to        conduct      discovery.

(Crim. No. 12-624, ECF No. 226).

      In    a     civil      forfeiture             action    against          the    U.S.    currency

involving        a       violation   of        the    Controlled          Substances         Act,    the

currency might be subject to forfeiture pursuant to 21 U.S.C. §

881(a)(6).           Under that provision, the seizure provisions of 18

U.S.C. § 981(b) are applicable.                           Section 981(b) in turn refers

to the Supplemental Rules for Certain Admiralty and Maritime

Claims,     which          prescribe          procedures           for    filing       a     claim    in

forfeiture actions in rem arising from a federal statute.

      In a criminal forfeiture action, the property is subject to

forfeiture pursuant to 21 U.S.C. § 853.                              Third parties may seek

to have their interest in forfeited property adjudicated under

21   U.S.C.          §    853(n).         Following          the    entry        of    an    order   of

forfeiture pursuant to Section 853, a third party asserting an

interest in forfeited property may petition the court for a

hearing to adjudicate the validity of his alleged interest in

the property.               The petition must be signed under penalty of

perjury,         and       “set     forth           the   nature         and      extent      of     the

petitioner’s right, title, or interest in the property, the time

and circumstances of the petitioner’s acquisition of the right,

title,     or        interest       in        the    property,           any     additional        facts

supporting the petitioner’s claim, and the relief sought.”                                            21

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U.S.C. § 853(n)(3).       “The hearing on the petition shall, to the

extent practicable and consistent with the interests of justice,

be held within thirty days of the filing of the petition.”                      Id.

§ 853(n)(4).

        A.   The Government’s Objection to the Timeliness                       of
        Zheng’s Submission in the Civil Forfeiture Action

        Under Supplemental Rule G(5)(a)(ii), a person who asserts

an interest in the defendant property may contest the forfeiture

by filing a claim “by the time stated in a direct notice sent

under    Rule   G(4)(b).”     Rule   G(5)(a)(ii)(A).            The   procedural

requirements embodied in the Supplemental Rules “ensur[e] that

putative claimants come forward as quickly as possible after the

initiation of forfeiture proceedings so that the court may hear

all interested parties and resolve the dispute without delay.”

United States v. All Assets Held at Bank Julius Baer & Co.,

Ltd., 664 F.Supp.2d 97, 101 (D.D.C. 2009) (internal quotation

marks omitted).        Generally, claimants are expected “to adhere

strictly to [the] requirements” of the Supplemental Rules.                      Id.

at 101.

        “In some circumstances, however, especially where claimants

are proceeding pro se, courts may excuse some minor procedural

failings so along as the underlying goals of the Supplemental

Rules    are    not   frustrated.”       Id.   (internal    quotation       marks

omitted); see also United States v. Ones 2007 Mercedes Benz CLS


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550, 2012 WL 1072252, at *1 (D.Md. Mar. 28, 2012).                            Relevant

factors to consider in deciding whether to overlook a claimant’s

procedural missteps include “the claimant’s good faith attempts

to comply with procedural requirements” and “whether prejudice

to the United States will result from excusing the claimant’s

procedural errors.”       All Assets Held, 664 F.Supp.2d at 102.

        Here, the Government’s July 15, 2013 “Notice of Complaint

of Forfeiture” notified Zheng that he needed to file a verified

claim within 35 days after the date of the notice in order to

avoid forfeiture of the defendant property.                 (Civil No. 13-1984,

ECF No. 5-2, at 2).            Zheng then responded with an unverified

claim, discussed infra, which was docketed on August 20, 2013,

one day after the filing deadline.                 Missing a deadline by only

one day clearly constitutes a “minimal delay.”                        See One 2007

Mercedez Benz, 2012 WL 1072252, at *1 (construing a 26-day delay

as   minimal);    Cf.    United      States   of    America    v.     $25,790        U.S.

Currency, 2010 WL 2671754, at *4 (D.Md. July 2, 2010) (holding

as untimely a claim filed over 100 days late even after the

deadline was extended).               Moreover, Zheng’s letter is dated

August    13,   2013,    and   the    envelope     containing        the    letter     is

postmarked August 16, 2013, evidencing a good faith effort by

Zheng     to    comply    with       Supplemental       Rule        G’s     procedural

requirements, particularly given his pro se status.                        In light of



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these    factors,    the   court   rejects     the   Government’s      motion      to

strike on the ground that Zheng’s claim was untimely.

        B.   Failure to File a Verified Claim in Both Civil and
        Criminal Cases

        Under both the criminal forfeiture statute, 21 U.S.C. §

853, and the Supplemental Rules, which govern in rem forfeiture

actions, the claim (in the civil context) or petition (in the

criminal context) needs to be signed under penalty of perjury.

        In   a   civil      forfeiture       action,     Supplemental             Rule

G(5)(a)(i)(C) provides that the claim must be signed by the

claimant     under    penalty      of   perjury.        Of       the   Rule       G(5)

requirements, the requirement to sign the claim under penalty of

perjury is the “most significant.”             United States v. $12,914.00,

828 F.Supp.2d at 824.        This is because “[t]he only safeguard the

courts have against the filing of false claims in . . . in rem

proceeding is the threat that the filing of a false claim will

trigger a perjury persecution.”              United States of America v.

$104,250.00 in U.S. Currency, 2013 WL 2357787, at *4 (D.Md. May

29, 2013).       To that end, courts have repeatedly enforced the

requirement that the claim be filed under oath.                        See United

States v. $487,825.00, 484 F.3d 662, 664-65 (3d Cir. 2007) (the

requirement that a claimant file a timely verified claim serves

two purposes: it forces claimants to come forward as quickly as

possible, and it minimizes the danger of false claims); United


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States v. $125,938.62, 370 F.3d 1325, 1328 (11th Cir. 2004) (a

verified claim is essential to conferring statutory standing and

is necessary to deter the filing of false claims; the claim must

be verified by the claimant, not by counsel).                         This court has

the    authority    under       Rule    G(8)(c)   to     dismiss      the     claim    for

failure     to    comply    with    Rule   G(5)(a).         In    situations      where

claimants failed to fully comply with the Supplemental Rules,

however, courts have given claimants multiple chances to comply

with Rule G(5)(a) by filing an amended claim.                     See United States

of America v. $14,250 U.S. Currency, 2012 WL 6681920, at *2

(D.Md.,    Dec.    21,     2012)    (granting     the    government’s         motion    to

strike only after the claimant failed to file a verified claim

despite multiple requests by the government that he do so); see

also United States v. $304,050.00 U.S. Currency, 2012 WL 4953126

(M.D.Fla. Oct. 17, 2012) (granting claimant leave to file an

amended claim); United States v. $196,969.00 U.S. Currency, 2012

WL 4128035, at *2 n.3 (S.D.Ind. Sept. 20, 2012) (noting that

courts have the discretion to allow a claimant a second chance

to    comply     with    the    pleading      requirements       in    Rule    G(5)     by

granting leave to file an amended pleading, but declining to do

so where claimant’s action appears to be a “strategic choice”).

       Section     853(n)(3)       likewise     requires    the       petition    to    be

signed under penalty of perjury.                Much like in civil forfeiture

actions,     courts      have    also    strictly       construed      the    statutory

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requirement    in    criminal    forfeiture    proceedings      in    order    to

discourage false or frivolous claims.              See, e.g., United States

v. Ginn, 799 F.Supp.2d 645, 647 (E.D.La. 2010).

      Here, pro se Claimant/Petitioner submitted a signed letter,

but he failed to sign it under penalty of perjury as prescribed

by Supplemental Rule G(5) and Section 853(n)(3).                     The court

recognizes that requiring a claimant to sign personally under

penalty of perjury serves the government’s legitimate interest

in protecting forfeited assets, and finds that Zheng’s failure

to   comply   with    the     statutory    requirement    could      be   easily

corrected by amendment.         See United States of America v. Ward,

2007 WL 2993870, at *2 (W.D.La. Oct. 11, 2007) (declining to

dismiss the petition for failure to sign under oath where the

claimants were pro se and there was no indication that they

failed to sign because they were asserting frivolous claims).

      Accordingly, the court will provide Zheng an opportunity to

advise the court at the September 16, 2013 hearing whether he

will amend the claim by signing it under penalty of perjury.

      C.   The Government’s        Request    to   Continue    the    Ancillary
      Proceeding

      At the hearing, the Government will explain why it has

filed both the civil and criminal forfeiture actions concerning

the currency and whether both need to proceed.                 The civil and

criminal actions trigger different procedures. For instance, in


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the civil context, a “claimant must serve and file an answer to

the complaint or a motion under Rule 12 within 21 days after

filing the claim.”             Supp.R. G(5)(b).               In the criminal context

only, on the other hand, Federal Rule of Criminal Procedure

32.2(c)(1)      provides      that      “[i]f,      as   prescribed        by   statute,     a

third    party       files    a    petition       asserting      an    interest     in     the

property to be forfeited, the court must conduct an ancillary

proceeding.”           (emphasis          added).         The    criminal       forfeiture

statute, 21 U.S.C. § 853(n)(4), provides that the “hearing on

the petition shall, to the extent practicable and consistent

with the interests of justice, be held within thirty days of the

filing of the petition.”                  Rule 32.2(c)(1)(B), however, allows

the     court    to    permit       the     parties      to     conduct     discovery       in

accordance      with    the       Federal    Rules       of   Civil    Procedure     before

conducting a hearing on the petition “if the court determines

that    discovery      is    necessary       or    desirable      to      resolve   factual

issues.”        Here, in its motion to strike in the criminal case,

the Government has asked the court to continue the ancillary

proceeding      to    enable      the     Government       to   conduct     discovery       to

resolve the factual issue of Zheng’s ownership over the claimed

property.        After the court hears from Zheng whether he will

amend his claim under penalty of perjury and from the Government

about how it wishes to proceed, the court will determine whether

it will provide time for the Government to conduct discovery.

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II.    Conclusion

       For the foregoing reasons, these matters will be discussed

at the hearing on Monday, September 16, 2013.



                                              /s/
                                    DEBORAH K. CHASANOW
                                    United States District Judge




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